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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                             MDL No.: 2599
                                  Master File No.: 1:15-md-02599-FAM
                                 S.D. Fla. Case No.: 1:15-cv-21416-FAM

   IN RE:

   TAKATA AIRBAG PRODUCTS LIABILITY
   LITIGATION
   _________________________________________
   THIS DOCUMENT RELATES TO:

   JOEL BRIGHTBILL, ON BEHALF OF HIMSELF
   AND ALL THOSE SIMILARLY SITUATED, et al.
                   Plaintiffs,
           vs.

   GENERAL MOTORS CORPORATION, et al.

                   Defendants.


                 NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
          PLAINTIFFS, by and through their attorneys, hereby give notice of their voluntary
   dismissal without prejudice of all claims asserted against Defendants in the above-entitled
   action (and only that action), pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).
   Dated: October 6, 2015                        Respectfully Submitted,

                                                 /s/Charles A. Bonner
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                                    CERTIFICATE OF SERVICE

          I hereby certify that, on October 6, 2015, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

   served this day on all counsel of record or pro se parties identified on the attached Service List in

   the manner specified, either via transmission of Notices of Electronic Filing generated by

   CM/ECF or in some other authorized manner of those counsel or parties who are not authorized

   to receive electronically Notices of Electronic Filing.

                                         Respectfully submitted,

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                                         By: /s/ Curtis Miner         __________
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                                    MDL NO. 2599 SERVICE LIST

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